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                      EXHIBIT A
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Master Lease    Term      Monthly      Months     Remaining                   Equipment
Schedule No.   (Months)   Payment     Remaining    Balance
     9           60       $749.54        22       $9,113.50         HYSTER Forklift Model H60XM,
                                                                         s/n H177B51607B

    10           60       $749.54        29       $12,013.25        HYSTER Forklift Model H60XM,
                                                                         s/n H177B57841C

    12           36       $1,357.20       7       $6,382.46         HYSTER Forklift Model H110XM,
                                                                         s/n L005V05877C

    13           36       $1,571.51       7       $7,698.81    HYSTER Forklift Model H110XM w/ Rotator,
                                                                         s/n L005V05876C

    14           60       $1,272.00      29       $23,026.00        HYSTER Forklift Model H60XM,
                                                                         s/n H177B34386Z

                                                                    HYSTER Forklift Model H60XM,
                                                                         s/n H177B34422Z

    15           36       $2,885.12      11       $14,331.46         HYSTER Forklift Model H60FT,
                                                                          s/n L177B01761C

                                                                     HYSTER Forklift Model H60FT,
                                                                          s/n L177B01776C
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Master Lease    Term      Monthly      Months     Remaining                   Equipment
Schedule No.   (Months)   Payment     Remaining    Balance
     16          36       $5,363.19      10       $36,626.10        HYSTER Forklift Model H155XL2,
                                                                         s/n G006V03416C

                                                                    HYSTER Forklift Model H155XL2,
                                                                         s/n G006V03418C

                                                                    HYSTER Forklift Model H155XL2,
                                                                         s/n G006V03422C

    17           48       $884.29        24       $10,080.00        HYSTER Forklift Model H60FTm
                                                                         s/n L177B03333C

    20           36       $1,180.93      11       $9,089.41             HYSTER H60FT Forklift,
                                                                          s/n L177B01775C

    25           60       $797.43        40       $17,702.40            HYSTER H60FT Forklift,
                                                                          s/n L177B03453C

    25           60       $602.60        47       $20,097.20            NISSAN PL60LP Forklift,
                                                                           s/n UG1F2-9L0009
